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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
O. JOHN BENISEK, et al.,
Plaintiffs,
v. Case No. 1:13-cv-03233-JKB

LINDA H. LAM()NE, et al.,

Defendaots.

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SPECIAL MASTER DISCLOSURE PURSUANT TO RULE 53(b)(3)(A)
Pursuant to Rule 53(b)(3)(A) of the Federal Rules of Civil Procedure, and this Court’s Order
ofNovember 13, 2018 (ECF No. 224), I, J. Mark Coulson,` declare as follows:
l. I am over 18 years of age and otherwise competent to make this disclosure;
2. I have reviewed 28 U.S.C. § 455(a) and I am not aware of any circumstance involving
this matter where my impartiality might reasonably be questioned',
3. I have reviewed 28 U.S.C. § 455(b) and state that none of the grounds for disqualification

listed therein apply to me With regard to this matter.

I HEREBY CERTIFY, UNDER PENALTY OF PERJURY, THAT THE FOREGOING lS

TRUE ANDC§R:§L;E:I“.

   
 

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